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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                                 Plaintiff,

                v.                                               Case No. 02-20104-002-KHV

DAVID T. LOPEZ
XXX-XX-5456,

                                 Defendant.

                v.

BANK OF AMERICA
Levies & Attachments, Dept. #20476
Reference #3201-10NOV04
PO Box 54660
Los Angeles, CA 90054-0660,

                                 Garnishee-defendant.


                            ORDER RELEASING GARNISHMENT
                          AND FINAL ACCOUNTING OF PAYMENTS

        Comes on for decision the motion of plaintiff, United States of America, Doc. 338, for an order

releasing the garnishment and discharging the garnishee-defendant from the Garnishee Order filed

December 29, 2004, (Doc. #338), and final accounting of garnishment payments. The plaintiff, United

States, appears by and through Eric F. Melgren, United States Attorney for the District of Kansas, and

Tanya Sue Wilson, Assistant United States Attorney for the District.

        The Court, upon review of the file and pleadings herein finds that the allegations of the motion

are true and the relief requested in appropriate.
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        Therefore, based on the above findings the Court orders that the garnishment is released and

the garnishee-defendant is hereby released and discharged as garnishee in the above entitled action.

The United States advises the Court that it collected a total of $4,588.15 by way of this garnishment.

        Dated this 5th day of May, 2005.




                                                        s/ Kathryn H. Vratil
                                                        KATHRYN H. VRATIL
                                                        United States District Judge

Submitted by:

ERIC F. MELGREN
United States Attorney


s/ Tanya Sue Wilson
TANYA SUE WILSON
Assistant United States Attorney
Ks. S.Ct. No. 11116
Federal Building, Suite 290
444 SE Quincy
Topeka, KS 66683-3592
Telephone: (785) 295-2850
Facsimile: (785) 295-2853
E-mail: Tanya.Wilson@usdoj.gov
Attorneys for the United States
